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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF INDIANA

 DIANNE BEAR KING LUCAS, on behalf                   Civil Case No.:
 of herself and all others similarly situated,

                        Plaintiff,                   COMPLAINT - CLASS ACTION
        v.

 SYNCHRONY BANK,

                        Defendant.

                                       INTRODUCTION

       1.      Defendant, Synchrony Bank (“Defendant” or “Synchrony”), has repeatedly called

Ms. Lucas’s cellular telephone about a Synchrony account that does not belong to her.

       2.      Synchrony has placed over 150 calls to Ms. Lucas’s cellular telephone using an

artificial or prerecorded voice in violation of the Telephone Consumer Protection Act, 47 U.S.C.

§ 227,et seq. (“TCPA”).

       3.      Ms. Lucas is not, and has never been, a Synchrony customer and did not provide

her express consent (or any consent whatsoever), to receive calls from Synchrony regarding an

account that she does not own.

       4.      On numerous occasions, Ms. Lucas informed Synchrony that it was calling the

wrong number and asked Synchrony to stop calling her.

       5.      Synchrony stated that it marked her number as “do-not-call” and promised Ms.

Lucas that the calls would stop.

       6.      Synchrony, nevertheless, continues to make calls to Ms. Lucas’s cellular telephone

without her consent.

       7.      Accordingly, Ms. Lucas brings this TCPA action on behalf of herself and a class of

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similarly situated individuals under 47 U.S.C. § 227(b).

                                 JURISDICTION AND VENUE

       8.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331, as this action

arises under the TCPA, which is a federal statute.

       9.      This Court has jurisdiction over Synchrony because Synchrony conducts business

transactions in this District, knowingly makes calls into this District (by calling telephone numbers

with Indiana area codes) and has committed tortious acts in this District.

       10.     Venue is proper in this District because Defendant conducts significant amounts of

business transactions within this District and because some of the wrongful conduct giving rise to

this case occurred in, was directed to, and/or emanated from this District.

                                            PARTIES

       11.     Plaintiff Dianne Bear King Lucas (“Ms. Lucas”) is, and at all times mentioned

herein was, a citizen and resident of Lafayette, Indiana.

       12.     Ms. Lucas is, and at all times mentioned herein was, a “person” as defined by 47

U.S.C. § 153(39).

       13.     Defendant Synchrony Bank (“Synchrony”) is, and at all times mentioned herein

was, a National Banking Association chartered as a Federal Savings Bank with headquarters at

170 Election Road, Draper, Utah 84020.

       14.     Defendant is, and at all times mentioned herein was, a “person” as defined by 47

U.S.C. § 153 (39).

                                  FACTUAL ALLEGATIONS

       15.     Ms. Lucas’s telephone number, (xxx) xxx-0619, is assigned to a cellular telephone

service.


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        16.    Since at least as early as May, 2021, Synchrony has repeatedly called Ms. Lucas’s

cellular telephone number and played a prerecorded message relating to a Synchrony account.

        17.    Synchrony is a subsidiary of Synchrony Financial, a consumer financial services

company. Through Synchrony Bank, Synchrony Financial offers, directly to retail and commercial

customers, a range of deposit products insured by the Federal Deposit Insurance Corporation

(“FDIC”). At December 31, 2020, Synchrony Bank had $62.8 billion in deposits.

        18.    Ms. Lucas knew that the calls from Synchrony used an artificial or prerecorded

voice due to the tone and cadence of the voice and because Ms. Lucas is familiar with traditional

human discourse and was unable to interact with the caller.

        19.    These calls are made from the number 1-855-844-0114.

        20.    Other consumer report receiving similar calls from Synchrony.                  See

https://800notes.com/Phone.aspx/1-855-844-0114 (last accessed October 6, 2021).

        21.    Ms. Lucas does not have a Synchrony account.

        22.    Ms. Lucas has never been a Synchrony customer.

        23.    Ms. Lucas did not consent to receive calls from Synchrony and never consented to

receive calls intended for other Synchrony customers.

        24.    During numerous calls, Ms. Lucas followed the prompts to be connected to a live

agent and informed the agent that Synchrony was calling the wrong number and requested that the

calls stop.

        25.    Despite her informing Synchrony of the erroneous nature of its calls and requesting

that the calls stop, Synchrony continued to place prerecorded calls to Ms. Lucas, multiple times a

day and even on Sundays.

        26.    On numerous occasions, Synchrony representatives advised Ms. Lucas that her


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number was being marked as “do-not-call”, or words to that effect, and that she should not receive

any further calls.

        27.       Despite these assurances, Ms. Lucas continues to receive calls from Synchrony.

        28.       Ms. Lucas has also called Synchrony’s customer service number and requested that

the calls stop.

        29.       The content of Synchrony’s messages demonstrates that Synchrony’s calls were

not made of an emergency purpose.

        30.       Synchrony has been sued multiple times for calling behavior similar to the behavior

described in this complaint.

        31.       Synchrony is aware of the TCPA’s prohibitions against the use of artificial or

prerecorded voices to make calls to cellular phones without the prior express consent of the called

party having been previously sued based on allegations of violating the TCPA.

        32.       Synchrony therefore knowingly and willfully caused calls utilizing an artificial or

prerecorded voice to be made to the cellular telephones of Ms. Lucas and other consumers without

their prior express consent.

        33.       In addition, each call Synchrony made to Ms. Lucas’s cellular telephone after she

informed Synchrony that it was calling the wrong number was made knowingly and willfully.

        34.       Ms. Lucas has suffered concrete harm because of Defendant’s unwanted and

unsolicited telemarketing calls, including, but not limited to:

                  •   Lost time tending to and responding to the unsolicited calls;

                  •   Invasion of Privacy; and

                  •   Nuisance.

        35.       These forms of actual injury are sufficient for Article III standing purposes. See

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Trans Union, LLC v. Ramirez, 141 S. Ct. 2190, 2204 (2021) (citing Gadelhak v. AT&T Servs., Inc.,

950 F.3d 458 (7th Cir. 2020) (unwanted text messages satisfy concrete harm requirement of Article

III of the U.S. Constitution)).

        36.    Accordingly, each of Synchrony’s calls to Ms. Lucas using an artificial or

prerecorded voice violated 47 U.S.C. § 227(b).

        37.    For violations of 47 U.S.C. § 227(b), Ms. Lucas is entitled to a minimum of $500

per call.

        38.    Ms. Lucas is entitled to $1500 per call if Synchrony’s actions are found to be

knowing or willful.

                                  CLASS ACTION ALLEGATIONS

        39.    Plaintiff brings this action under Fed. R. Civ. P. 23 as a representative of the

following Class:

               All persons called by or on behalf of Synchrony on their cellular
               telephone numbers with an artificial or prerecorded voice after
               informing Synchrony or its vendor that the call was to a wrong
               number from four years prior to the date of filing of the
               complaint to trial.

        40.    Excluded from the Class is Synchrony and any entities in which Synchrony has a

controlling interest; Synchrony’s agents and employees; any Judge and Magistrate Judge to whom

this action is assigned and any member of their staffs and immediate families, and any claims for

personal injury, wrongful death, and/or emotional distress.

        41.    The Members of the Class for whose benefit this action is brought are so numerous

that joinder of all members is impracticable.




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       42.      The exact number and identities of the persons who fit within the Class are

ascertainable in that Synchrony and third parties maintain written and electronically stored data

showing:

             a. The time period(s) during which Synchrony placed its calls;

             b. The telephone numbers to which Synchrony placed its calls;

             c. The telephone numbers for which Synchrony had prior express consent;

             d. The telephone numbers for which Synchrony was informed were incorrect;

             e. The purposes of such calls; and

             f. The names and addresses of Class members.

       43.      The Class is comprised of hundreds, if not thousands, of individuals.

       44.      There are common questions of law and fact affecting the rights of the Members of

the Class, including, inter alia, the following:

             a. Whether Synchrony (or someone acting on its behalf) used an artificial or

                prerecorded voice in placing its calls;

             b. Whether Synchrony (or someone acting on its behalf) obtains prior express consent;

             c. Whether Synchrony ignored consumers’ indications that they were not the

                consumers Synchrony intended to call;

             d. Whether Ms. Lucas and the Class were damaged thereby, and the extent of damages

                for such violations; and

             e. Whether Synchrony should be enjoined from engaging in such conduct in the

                future.




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          45.   Ms. Lucas is a member of the Class in that Synchrony placed a prerecorded call to

her cellular telephone without her prior express consent and after Ms. Lucas notified Synchrony

that it was calling the wrong number.

          46.   Ms. Lucas’s claims are typical of the claims of the Members of the Class in that

they arise from Synchrony’s uniform conduct and are based on the same legal theories as these

claims.

          47.   Ms. Lucas and all putative Members of the Class have also necessarily suffered

concrete harm in addition to statutory damages, as all Members of the Class spent time tending to

Defendant’s unwanted calls and suffered a nuisance and an invasion of their privacy.

          48.   Ms. Lucas has no interests antagonistic to, or in conflict with, the Class.

          49.   Ms. Lucas will thoroughly and adequately protect the interests of the Class, having

retained qualified and competent legal counsel to represent her and the Class.

          50.   Synchrony has acted and refused to act on grounds generally applicable to the

Class, thereby making injunctive and declaratory relief appropriate for the Class.

          51.   The prosecution of separate actions by individual class members would create a

risk of inconsistent or varying adjudications.

          52.   A class action is superior to other available methods for the fair and efficient

adjudication of the controversy since, inter alia, the damages suffered by each class member make

individual actions uneconomical.

          53.   Common questions will predominate, and there will be no unusual manageability

issues.




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                                      CAUSE OF ACTION
                            Violations of the TCPA, 47 U.S.C. § 227(b)

          54.    Plaintiff and the proposed Class incorporate the foregoing allegations as if fully set

forth herein.

          55.    Synchrony used an artificial or prerecorded voice to make non-emergency calls to

the cellular telephones of Plaintiff and Class members, without their prior express consent.

          56.    Synchrony has therefore violated 47 U.S.C. § 227(b).

          57.    As a result of Synchrony’s unlawful conduct, Plaintiff and the Class Members are

entitled to an award of $500 in statutory damages for each call, pursuant to 47 U.S.C. §

227(b)(3)(B).

          58.    Plaintiff and the Class Members are entitled to an award of treble damages in an

amount up to $1,500 for each call made knowingly and/or willfully, pursuant to 47 U.S.C. §

227(b)(3).

          59.    Plaintiff and Class Members are also entitled to and seek injunctive relief

prohibiting future violations of the TCPA.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the

following relief:

          A.     An order certifying the Classes as defined above, appointing Plaintiff as the

representative of the Class and appointing her counsel as Class Counsel;

          B.     An order declaring that Defendant’s actions, as set out above, violate 47 U.S.C. §

227(b);

          C.     An award of injunctive and other equitable relief as necessary to protect the

interests of the Class, including, inter alia, an order prohibiting Defendant from engaging in the

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wrongful and unlawful acts described herein;

       D.      An award of statutory damages;

       E.      An award of treble damages; and

       F.      Such other and further relief that the Court deems reasonable and just

                                         JURY DEMAND

       Plaintiff requests a trial by jury of all claims that can be so tried.



 Dated: October 18, 2021                 s/ Anthony Paronich____________
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                                         *Application for full admission forthcoming




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